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 1

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 3

 4        Entered on Docket
     ___________________________________________________________________
         August 29, 2014
 5
      NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
 6    State Bar #CA 117234
 7    WILLIAM B. COSSITT, #3484
      Office of the United States trustee
 8    300 Booth Street, Room 3009
      Reno NV 89509
 9    Telephone: (775) 784-5335
      Fax: (775) 784-5531
10

11    Attorneys for United States Trustee
      Tracy Hope Davis
12
                                  UNITED STATES BANKRUPTCY COURT
13
                                            DISTRICT OF NEVADA
14

15    In re:                                       )       Case no: BK-N-14-50333-BTB
                                                   )       Chapter 11
16    ANTHONY THOMAS and,                          )
          WENDI THOMAS                             )       ORDER CONVERTING CASE TO
17                                                 )       CHAPTER 7
                                                   )
18
                                                   )       Hearing Date: August 22, 2014
19                      Debtor.                    )       Hearing Time: 2:00 p.m.

20             John Beach, Trustee of the Beach Living Trust dated January 22, 1999 (herein “Beach

21    Trust”) moved on proper notice for an order appointing a trustee in the jointly administered case
22
      AT EMERALD, LLC, BK-N-14-50331-btb (“Motion” Docket #164) and the Motion came on
23
      for hearing at the above stated date and time after time was shortened by this Court’s Order of
24
      August 14, 2014, Docket #166. Anthony Thomas and Wendi Thomas appeared on their own
25
      behalf in opposition to the Motion. Docket #’s 179 and 180. Timothy A. Lukas, Esq., appeared
26

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 1   on behalf of the Beach Trust. William B. Cossitt, Esq. appeared for the US Trustee, and orally
 2   moved for conversion of the case to chapter 7 instead of appointment of a chapter 11 trustee.
 3
            The Court having read the pleadings, listened to testimony and the arguments of the
 4
     parties, having reviewed its previous notes and findings from previous hearings and having put
 5
     its findings of fact and conclusions of law on the record in open court, including the
 6

 7   incorporation of earlier findings and conclusions from earlier hearings, pursuant to Federal Rule

 8   of Civil Procedure 52 made applicable by Federal Rule of Bankruptcy Procedure 7052, and good

 9   cause appearing;
10          IT IS HEREBY ORDERED that this case is CONVERTED TO CHAPTER 7.
11

12   Respectfully submitted,

13   Nicholas Strozza
     State Bar # CA 117234
14   William B. Cossitt
15   State Bar #3484
     300 Booth Street, #3009
16   Reno NV 89509
     (775) 784-5335
17
     /s/ WILLIAM B. COSSITT
18
     __________________________________
19   Attorneys for United States Trustee
     Tracy Hope Davis
20
     APPROVED this 25TH day of August, 2014.
21
     /s/ Timothy A. Lukas
22
     __________________________________
23   Timothy A. Lukas, Esq., Attorney for Beach Trust

24   APPROVED/DISAPPROVED this ___ day of August, 2014.
25   NO RESPONSE
     __________________________________
26
     Anthony Thomas and Wendi Thomas. Pro per
27                                          ###

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 1
                                       CERTIFICATE OF SERVICE
 2
            In accordance with LR 9021(c), counsel submitting this document certifies as follows:
 3

 4          ____ The court has waived the requirement set forth in LR 9021(b)(1).

 5          ____ No party appeared at the hearing or filed an objection to the motion.
 6          __X_ I have delivered a copy of this proposed order to all counsel who appeared at the
 7   hearing, and any unrepresented parties who appeared at the hearing, and each has approved or
     disapproved the order, or failed to respond, as indicated below [list each party and whether the
 8   party has approved, disapproved, or failed to respond to the document]:

 9   Timothy A. Lukas, Esq., VIA E-MAIL 08/22/14 APPROVED 08/25/14
10   Anthony Thomas and Wendi Thomas, VIA US MAIL 08/22/14 NO RESPONSE
11                                  VIA E-MAIL 08/25/14 NO RESPONSE

12          ____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
     order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
13   content of the order.
14   DATED this 27th day of August, 2014.
15                                                         WILLIAM B. COSSITT

16                                                         /S/ WILLIAM B. COSSITT
                                                           TRIAL ATTORNEY for the
17                                                         United States Trustee
                                                           TRACY HOPE DAVIS
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